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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

Vv.

ETHAN NORDEAN,
JOSEPH BIGGS, Criminal Action No. 21-175 (TJK)
ZACHARY REHL,
ENRIQUE TARRIO, and
DOMINIC PEZZOLA,

Defendants.

RESPONSE TO JURY NOTE OF APRIL 26, 2023 AT 4:35 P.M.

The exhibits that are responsive to your two questions are indicated on the attached copy

of your note to me.

“a

TIMOTHY JNS€ELL
United States District Judge

